                     IN THE CIRCUIT COURT OF TENNESSEE
                 ELEVENTH JUDICIAL DISTRICT AT CHATTANOOGA


    Martha L. Warren, individually and as               )
    Trustee of the Brooks & Olivia Bono                 )
    Irrevocable Trust, and Vincent Bono,                )
                                                        )
                   Plaintiffs,                          )
    v.                                                  )       Docket No. 1:11-cv-115
                                                        )
    Lincoln Benefit Life Company                        )
                                                        )
                   Defendant.                           )

                           NOTICE OF VOLUNTARY DISMISSAL


           Comes the plaintiffs, Martha L. Warren, individually and as Trustee of the Brooks

    & Olivia Bono Irrevocable Trust, and Vincent Bono, by counsel and file this its Notice of

    Voluntary Dismissal With Prejudice of this cause pursuant to a Settlement Agreement

    reached by the parties previously announced to the Court.

                                                 Respectfully submitted,

                                                 Law Office of Robert D. Philyaw

                                                 /s/ Rob Philyaw
                                                 Robert D. Philyaw (BPR # 21641)
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Case 1:11-cv-00115-CLC-SKL Document 16 Filed 10/06/11 Page 1 of 2 PageID #: 148
                                 CERTIFICATE OF SERVICE


           This is to certify that I have this day served a copy of the foregoing on counsel for
    the opposing party by filing the same within the Court’s electronic filing system.

           Christina M. Putman, Esq.
           Randy J. Bruchmiller, Esq.                    Bud Jackson, Esq.
           SEYFARTH SHAW LLP                             CHAMBLIS
           700 Louisiana Street, Suite 3700              2 Union Square, Suite 1000
           Houston, Texas 77002                          Chattanooga, TN 37402




    This 6th day of October, 2011.

                                                  /s/ Rob Philyaw
                                                  Robert D. Philyaw




Case 1:11-cv-00115-CLC-SKL Document 16 Filed 10/06/11 Page 2 of 2 PageID #: 149
